    Case: 1:21-cv-03398 Document #: 1-1 Filed: 06/24/21 Page 1 of 11 PageID #:3

Exhibit A (Page 01 of 11)




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    Case: 1:21-cv-03398 Document #: 1-1 Filed: 06/24/21 Page 2 of 11 PageID #:4

Exhibit A (Page 02 of 11)




          CY.~1~ Q~ 'g'Y~ ~IYt~~J~~' ~~~JR'Y' (~~ C~O~ ~6~i7IV'~ ~~~I~~ .~0~.~'I~IVS

          Richard J T?alep Center                            ~       Domestic Relations Division
          50 't~ G~ashington                             ~           Richard J Daley Center
          Chicago, IL.60F02                                          50 C~ Washington, Rtn. 802
      ~   District 2 -Skokie            ~                            Chicago, IL 60602
          5600 Ol~i Orchard Rd                                       Hours: 8:30 am - 4:30 pm
          Skokie, IL 60077                                   ~       Civil Appeals
      ~   District 3 -Rolling Meadows                                ~~d J Dalep Center
          2121 Euclid                             ~              ~   50 ~l Washington, Rm 801
          Rolling Meadows, IL 60008                                  Chicago, IL 60602
                                                                     Hoots: 8:30 a.m - 4:30 pm
      ~   District 4 -Maywood
          1500 Maybtook Ave                                  ~       G~~ p~p~~ent
          Maywood, IL 60153'                                         Richard J Daley Center.
                                                                     S0 W Washington, Rm 1006
      ~   Distd~t 5 -Bridgeview                                      Chicago, IL 60602
          10220 ~ 76th Ave                                           Hoists: 8:30 atn - 4:30 pm
          Bridgeview, IL 60455
                                                             ~       Gountp Division
      •   District 6 -11~Tark~,am                                    ~tic~ard J Daley Center
          16501 S Ked~ie Pkwy                                        50 W Washington, Rm 1202
          Markham, IL G0428                                          Chicago, IL G0602
      ~   Domestic Violence Court                                    Hoists: 830 am - 4:30 pm
          555 W F3arrisan                                    ~       Probaee Division
          Chicago, IL 60607                                          g~.~d J Daley Center
      ~   Juvenile Center Builcling                                  50 W Washington, Rm 1202
          2245 ~ Ogden. Ave, Rtn 13                                  Chicago, IL 60602
          Chicago, IT. 60602                                         Hou.ts: 8:30 am - 4:30 pm
      •    Criminal Court Building                           ~       Law Division
           26$0 S California Ave, Rm 52G                             R~chaxd J Daley CEnter
           Chicago, IL 60608                                         50 W Washington, Rm 801
                                                                     Chicago, IL 60602
      Daley Center Divgsions/I~epaxt~ents                            Hours: 8:30 am - 4:30 pm
      ~    Civil. Division                                   ~       Traffic Division
           Richard J Da1ep Center                                    Richard J Daley Center
           5Q W Washington, R.m 601                                  50 W Washington, Lower Level
           Chicago, IL 60G02                                         Chicago, LL. 60602
           Hours: 8:30 atn - 4:30 pm                                 Hours: 8:30 am - 4:30 pm
      ~    Chancexp Division
           Richard J Daley Centex
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    Case: 1:21-cv-03398 Document #: 1-1 Filed: 06/24/21 Page 3 of 11 PageID #:5

Exhibit A (Page 03 of 11)




        Complaint -Verified                                                              (1.B/0~./20l ~~ldl 000 Pa.
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        I, \ ~, ~~~ ~~''~i ~~                                 ~~+~                          , certify that I am
                                            (1`r~)
        the                                                                          plaintiff in the above entitled action.
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    Case: 1:21-cv-03398 Document #: 1-1 Filed: 06/24/21 Page 4 of 11 PageID #:6

Exhibit A (Page 04 of 11)



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    Case: 1:21-cv-03398 Document #: 1-1 Filed: 06/24/21 Page 5 of 11 PageID #:7

Exhibit A (Page 05 of 11)




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    Case: 1:21-cv-03398 Document #: 1-1 Filed: 06/24/21 Page 6 of 11 PageID #:8

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    Case: 1:21-cv-03398 Document #: 1-1 Filed: 06/24/21 Page 7 of 11 PageID #:9

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       C~g'11VT' I FOIL AS~A~JI.T Ali~l) ~~iT'~'ER~'

       1. At all times herein Plaintiff was a resident of the City of Chicago, County of Cook, IL.
       2. At all times Defendant Chicago Police Officer Jackson Star No. 3481 was a sworn., duly
       appointed Chicago Police Officer and upon and information belief has been so for a substantial
       period of time prior to the incident alleged herein.

       3. At all times herein Defendant Jackson owed to Plaintiff a duty of care to refrain from assaulting
       and battering Plaintiff, and further had a duty to refrain from violating Plaintiff's civil rights as
       guaranteed by the United States Constitution under the 4th, Stn, 6`t' and 14~' amendment and Illinois
       Constitution Article 2 §2, 6 and 12.

       4. On May 1, 2020 Plaintiff was unlawfully arrested by Defendant Chicago Police Officer Jackson
       Star No. 3481 at his home at 5725 W. Washington Blvd., Chicago, II.. After Defendant arrested
       Plaintiff, she handcuffed him with his arms behind his back. She then and there deliberately over
       tightened the handcuffs causing Plaintiff to lose feeling in his hands and arms. She then ordered
       him to get into the Chicago Police paddy wagon. As Plaintiff approached the paddy wagon,
       Defendant grabbed Plaintiff's wrist by the handcuffs, jerked his body up by his handcuffs thereby
       forcing Plaintiff to fall to his side and causing pain, bruising, swelling, and a sprain to Plaintiff's
       right wrist.                                                                      z~ :_         ~
                                                                                        ~;:,~
       5. On May 1, 2020 Defendant Chicago Police Officer Jackson did thereby~i~ rritt tn~~ tort of
       assault and battery in one or more of the following ways:                          ~ ~~; ~ .`~
                                                                                          ~~,~,.             ,.
               a. unlawfully and without just cause used excessive force in an attempfi:~o          lai iff into
       the Chicago paddy wagon;                                                         ~~ ~ •~.~
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               b. uniawfuily ai7d without just cause grabbed plaintiff's wrists by the hariacufts, 's~ueezed
       them and then yanked and jerked them violently up towards his upper back;
       6. On May 1, 2020 Defendant did the above without the consent or permission of Plaintiff and
       caused him great bodily harm.

        7. As a direct and proximate cause of one or more the foregoing intentional and unlawful acts of
       excessive and unjustified force upon the Plaintiff he suffered personal injury, including but not
       limited to a sprain of his right wrist, pain and suffering and continues to suffer and have pain to
       the present date.
       WHEREFORE Plaintiff Timothy Thigpen prays that this court enter judgment in his favor and
       against the Defendant Chicago Police Officer Jackson Star No. 3481 in the amount of $9.500 plus
       costs of this suit.
       COUNT II FOR VIOLATION OF PLAINTIFF'S CIVIL RIGHTS

        1-4 Plaintiff realleges paragraphs 1-4 of Count I as paragraphs 1-4 of Count II.
        5. Plaintiff has a cause of action under 42 U.S.C. §1983 and under the Illinois Constitution for
        violation of his due process rights as guaranteed by both the Federal and State Constitution.
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      5. . Gn May 1, 2020 Defendant Chicago Police Officer Jackson did thereby violate Plaintiff's
      constitutional rights under both the Federal and Illinois constitution in one or more of the following
      ways:

             a. unlawfully and without just cause used excessive force in an attempt to get Plaintiff into
      the Chicago paddy wagon;

             b. unlawfully and without just cause grabbed plaintiff's wrists by the handcuffs, squeezed
      them, and then yanked and jerked them violently up towards his upper back;

      6. On May 1, 2020 Defendant did the above without the consent or permission of Plaintiff and
      caused him great bodily harm.

       7. As a direct and proximate cause of one or more the foregoing intentional and unlawful acts of
      excessive and unjustified force upon the Plaintiff he suffered personal injury, including but not
      limited to a sprain of his right wrist, pain and suffering and continues to suffer and have pain to
      the present date.

      WI3ERE~ORE Plaintiff Timothy Thigpen prays that this court enter judgment in his favor and
      against the Defendant Chicago Police Officer Jackson Star No. 3481 in the amount of $9.500 plus
      costs of this suit.

                                                                     Respectfully Submitted,

                                                                               ~:-
                                                                                         Y..


                                                                     Timothy T i pei~ .~= ~         ~.:.~
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      Timothy Thigpen   r--                                                          ~~w ~ _ ~
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      Pro Se-99500                                                                    ~z ~-> '""'
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      5725 W. Washington Blvd. Unit 2B                                               ~'~~':    ~'   ~~
      Chicago, IL 60644                                                              ~' ~; ~~~       ~Y``"
      312.217.11.13                                                                  "~~ ~~ `~'        ~'
   Case: 1:21-cv-03398 Document #: 1-1 Filed: 06/24/21 Page 9 of 11 PageID #:11

Exhibit A (Page 09 of 11)




      COUNT I FOR ASSAULT AND BATTERY
      1. At all times herein Plaintiff was a resident of the City of Chicago, County of Cook, IL.
      2. At all times Defendant Chicago Police Officer Jackson Star No. 3481 was a sworn, duly
      appointed Chicago Police Officer and upon and information belief has been so for a substantial
      period of time prior to the incident alleged herein.

     3. At all times herein Defendant Jackson owed to Plaintiff a duty of care to refrain from assaulting
     and battering Plaintiff, and further had a duty to refrain from violating Plaintiff's civil rights as
     guaranteed by the United States Constitution under the 4th, 5`t'~ 6~' and 14`l' amendment and Illinois
     Constitution Article 2 §2, 6 and 12.
     4.On May 1, 2020 Plaintiff was unlawfully arrested by Defendant Chicago Police Officer Jackson
     Star No. 3481 at his home at 5725 W. Washington Blvd., Chicago, IL. After Defendant arrested
     Plaintiff, she handcuffed him with his arms behind his back. She then and there deliberately over
     tightened the handcuffs causing Plaintiff to lose feeling in his hands and arms. She then ordered
     him to get into the Chicago Police paddy wagon. As Plaintiff approached the paddy wagon,
     Defendant grabbed Plaintiff's wrist by the handcuffs, jerked his body up by his handcuffs thereby
     forcing Plaintiff to fall to his side and causing pain, bruising, swelling, and a sprain to Plaintiff's
     right wrist.
      5. On May 1, 2020 Defendant Chicago Police Officer Jackson did thereby comrriit the tort of
      assault and battery in one or more of the following ways:
             a. unlawfully and without just cause used excessive force in an attempt to get Plaintiff into
      the Chicago paddy wagon;
             b. unlawfully acid Withoui just cause grabbed piainiiff's wrisis by the handcuffs, squeezed
      them and then yanked and jerked them violently up towards his upper back;
     6. On May 1, 2020 Defendant did the above without the consent or permission of Plaintiff and
     caused him great bodily harm.
       7. As a direct and proxunate cause of one or more the foregoing intentional and unlawful acts of
      excessive and unjustified force upon the Plaintiff he suffered personal injury, including but not
      limited to a sprain of his right wrist, pain and suffering and continues to suffer and have pain to
      the present date.
      WHEREFORE Plaintiff Timothy Thigpen prays that this court enter judgment in his favor and
      against the Defendant Chicago Police Officer Jackson Star No. 3481 in the amount of $9.500 plus
      costs of this suit.
      COUNT II FOR VIOLATION OF PLAINTIFF'S CIVIL RIGHTS

      1-4 Plaintiff realleges paragraphs 1-4 of Count I as paragraphs 1-4 of Count II.
      5. Plaintiff has a cause of action under 42 U.S.C. §1983 and under the Illinois Constitution for
      violation of his due process rights as guaranteed by both the Federal and State Constitution.
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      5. On May 1, 2020 Defendant Chicago Police Officer Jackson did thereby. violate Plaintiff's
      constitutional rights under both the Federal and Illinois constitution in one or more of the following
      ways:

             a. unlawfully and without just cause used excessive force in an attempt to get Plaintiff into
      the Chicago paddy wagon;

             b. unlawfully and without just cause grabbed plaintiff's wrists by the handcuffs, squeezed
      them, and then yanked and jerked them violently up towards his upper back;

      6. On May 1, 2020 Defendant did the above without the consent or permission of Plaintiff and
      caused him great bodily harm.

       7. As a direct and proximate cause of one or more the foregoing intentional and unlawful acts of
      excessive and unjustified force upon the Plaintiff he suffered personal injury, including but not
      limited to a sprain of his right wrist, pain and suffering and continues to suffer and have pain to
      the present date.

      WHEREFORE Plaintiff Timothy Thigpen prays that this court enter judgment in his favor and
      against the Defendant Chicago Police Officer Jackson Star No. 3481 in the amount of $9.500 plus
      costs of this suit.

                                                                     Respectfully Submitted,




                                                                     Timothy Thib en

      Timothy Thigpen ,--
      Pro Se-99500
      5725 W. Washington Blvd. Unit 2B
      Chicago, II. 60644
      312.217.11.13
           Case: 1:21-cv-03398 Document #: 1-1 Filed: 06/24/21 Page 11 of 11 PageID #:13

      Exhibit A (Page 11 of 11)
CnOK COUNTY CIRCUIT COURT                                  ~          I
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RETURN RECEIPT (ELECTRONIC)




20211011823                       RESTRICTED DELIVERY
CPO JACKSON STAR # 3481
CHICAGO POLICE DEPT
3510 S MICHIGAN AVE
CHICAGO, IL 60653-1020
                                         CgNFIDENTIAL




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